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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

 GENTEX CORPORATION, a Delaware
 Corporation,

                 Plaintiff,                          Case No. 19-921-MN

   v.

 GALVION LTD. and GALVION INC.,

                 Defendants.


                         ORDER TO AMEND SCHEDULING ORDER

         Pursuant to this Court’s Order on October 14, 2020, Plaintiff Gentex Corporation and

Defendants Galvion Ltd. and Galvion Inc. (collectively, the “Parties”) hereby file the requested

Proposed Order to amend the Scheduling Orders (D.I. 18, 63) in the instant action in the manner

set forth below. There is one area of dispute between the parties on the Proposed Amended

Scheduling Order, and the Plaintiff’s and Defendants’ respective positions on that issue is set out

at the bottom of this paper:

   Scheduling
     Order                     Event           Current Deadline           Amended Deadline
   Paragraph

        ¶ 7(a)      Plaintiff shall identify
                    the accused product(s)
                    as allegedly infringed
                    by U.S. Patent No.
                    10,638,807 (the          n/a                        October 30, 2020
                    ’807 Patent) and shall
                    produce the file
                    history of the
                    ’807 Patent.
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   ¶ 7(c)     Plaintiff shall produce
              an initial claim chart
              relating each known
                                        n/a            October 30, 2020
              accused product to the
              asserted claims of the
              ’807 Patent

    n/a       Plaintiff shall produce
              an initial damages
              model for all asserted    n/a            October 30, 2020
              counts


    ¶ 11      Parties shall
              exchange a list of
              those claim
              term(s)/phrase(s) that
              they believe need
                                        n/a            November 13, 2020
              construction in the
              ’807 Patent and their
              proposed claim
              construction of those
              term(s)/phrase(s).

   ¶ 7(d)     Defendant shall
              produce its initial
              invalidity contentions
              for the ’807 Patent,
              which preliminary
              contentions shall
                                       n/a             November 13, 2020
              consist of all art that,
              as of November 13,
              2020, Galvion in good
              faith believes
              invalidates the
              asserted claims.

    ¶ 11      Parties shall file a
              Joint Claim
              Construction Chart
              with the Court
                                        n/a            November 20, 2020
              relating to the
              term(s)/phrase(s) in
              dispute in the
              ’807 Patent.



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        ¶ 12      Plaintiff shall serve,
                  but not file, its
                  opening Markman           n/a                December 4, 2020
                  brief, not to exceed 5
                  pages

        ¶ 12      Defendant shall serve,
                  but not file, its
                  answering Markman         n/a                December 18, 2020
                  brief, not to exceed 7
                  pages

        ¶ 12      Plaintiff shall serve,
                  but not file, its reply
                                            n/a                January 8, 2021
                  Markman brief, not to
                  exceed 5 pages

        ¶ 12      Defendant shall serve,
                  but not file, its sur-
                                            n/a                January 22, 2021
                  reply Markman brief,
                  not to exceed 3 pages

        ¶ 12      Parties shall file a
                  Joint Claim               n/a                January 27, 2021
                  Construction Brief

        ¶ 13      Hearing on Claim                             February / March __,
                                            n/a
                  Construction                                 2021

       ¶ 8(b)     Plaintiff’s document
                  production relating to
                  the ’807 Patent shall     n/a                May 12, 2021
                  be substantially
                  complete.1

        ¶ 14      Deadline for
                  Defendant’s
                  Supplementation of
                                            n/a                July 30, 2021
                  Identification of
                  invalidity references
                  for the ’807 Patent.

       ¶ 7(e)     Final Infringement
                                            October 16, 2020   August 6, 2021
                  Contentions

1
  The Parties acknowledge that document production to all other issues has already been
substantially competed.
                                                  3
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   ¶ 7(f)     Final Invalidity
                                      November 6, 2020          August 13, 2021
              Contentions

   ¶ 8(a)     Close of Fact
                                      October 9, 2020           August 20, 2021
              Discovery

              Opening Expert
   ¶ 8(f)     Reports on Issues for
              which                   November 13, 2020         September 7, 2021
              the Party Bears the
              Burden of Proof

   ¶ 8(f)     Rebuttal Expert
                                      December 11, 2020         October 7, 2021
              Reports

   ¶ 8(f)     Reply Expert Reports    January 15, 2021          November 5, 2021

   ¶ 8(a)     Close of Expert
                                      February 19, 2021         December 8, 2021
              Discovery

              Opening Briefs for
    ¶ 15      Case Dispositive and
              Daubert Motions         March 19, 2021            January 14, 2022

              *See I below.

              Responsive Briefs for
    ¶ 15      Case Dispositive and    April 16, 2021            February 11, 2022
              Daubert Motions

              Reply Briefs for Case
    ¶ 15      Dispositive and         May 14, 2021              March 11, 2022
              Daubert Motions

    ¶ 18      Plaintiff to Serve      30 days before pretrial   30 days before pretrial
              Draft Pretrial Order    conference                conference

              Defendants to Serve
                                      14 days before pretrial   14 days before pretrial
    ¶ 18      Response to Draft
                                      conference                conference
              Pretrial Order

              Submit Joint
    ¶ 18      Proposed Final
              Pretrial Order, to      7 days before pretrial    7 days before pretrial
              include any in limine   conference                conference
              requests and
              responses

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                    Jury Instructions,
                                           3 days before pretrial         days before
       ¶ 19         Voir Dire, and Special
                                           conference                    pretrial conference
                    Verdict Forms

       ¶ 18         Pretrial Conference      September, 2021          July , 2022 DW

       ¶ 20         Trial GD\MXU\        SeptembeU, 2021          July, 2022

                    Submission of Order
       ¶ 21         to Enter Judgment on     7 days after a jury         7 days after a jury
                    Verdict and Post-Trial   returns a verdict           returns a verdict
                    Status Report

                                    MATTERS IN DISPUTE6HHEHORZIRU&RXUW V5XOLQJ

       I.      Dispositive Motion Page Limits

               A.      Galvion’s Position

       As counsel argued during the argument on Gentex’s motion to amend (D.I. 90 at 10:13-

15), with the addition of three counts to this case, including a new patent in a family separate from

the patents that Gentex has already asserted, Galvion requests that the Court permit additional

pages for summary judgment/dispositive motions. Such additional pages will be necessary for

Galvion to address the baselessness of Gentex’s additional claims. In particular, Galvion requests

seven additional pages for each new count for opening and responsive briefs; two pages per count

for any reply briefs; and one additional page per new count for the Concise Statement of Facts.

Given the original scheduling order set the number of pages for briefing summary

judgment/dispositive motions based on the original complaint, that counsel for Galvion raised the

issue of requiring additional pages during the argument on Gentex’s motion to amend (id. at 10:13-

15), and counsel for Gentex did not object at that time, Galvion requests that the additional

requested pages be granted in this amended scheduling order.




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                 B.       Gentex’s Position

        Gentex believes that it is premature to seek an extension of the page limits for dispositive

motions. The parties need to complete fact and expert discovery. Once those phases of the case

are complete, the parties will be in a better position to assess the issues they will raise and the

pages they will need to adequately present those arguments to the Court. At this time, Galvion’s

request would unnecessarily burden the Court with additional briefing even though there is no

specific need for any party to present additional pages to the Court. The fact that the case now

includes more counts is not a sufficient basis to automatically expand the page limits for dispositive

motions. If Galvion’s counsel mentioned the desire to seek additional pages for dispositive

motions during the motion to amend teleconference, the fact that Gentex did not take a position at

that time should not be interpreted as implicit consent to Galvion’s premature request. As such, at

this time, Gentex does not believe an extension of these page limits is warranted.



Dated: October 26, 2020                             Respectfully submitted,

 MORGAN, LEWIS & BOCKIUS LLP                         SHAW KELLER LLP


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 SO ORDERED this WKGD\RI2FWREHU

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